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                               4

                               5

                               6                          UNITED STATES DISTRICT COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA
                               7                             SAN FRANCISCO DIVISION

                               8

                               9    UNITED STATES OF AMERICA,

                              10                Plaintiff,                      CR 05-375 SI

                              11          v.                                    STIPULATION AND ORDER
                                                                                TO TRAVEL OUTSIDE
                              12    JAY CHEN,                                   NORTHERN DISTRICT

                              13              Defendant.
                                    ______________________________/
                              14

                              15          THE PARTIES HEREBY STIPULATE AND AGREE that defendant JAY

                              16    CHEN may travel outside the Northern District of California to

                              17    250 N. Arlington Avenue, Reno, Nevada, from Saturday June 3 to

                              18    Sunday June 4, 2006 for his brother’s wedding.           Defendant shall

                              19    provide Pretrial Services a copy of his itinerary and a

                              20    telephone number where he may be reached.          Pretrial Services

                              21    Officer Betty Kim has no objection to this request.

                              22          Dated: May 25, 2006

                              23

                              24       /s/ ANDREW SCOBLE                       /s/ OMAR FIGUEROA
                                    ANDREW SCOBLE                             OMAR FIGUEROA
                              25    Assistant U.S. Attorney                   Attorney for Defendant

                              26

                              27          IT IS SO ORDERED.
P IE R 5 L A W O F F IC E S
    506 BR O A D W A Y
    SAN FR AN C ISC O         28
      (415) 986-5591                                                    SUSAN ILLSTON, Judge
   FAX : (415) 421-1331
                                                                        United States District Court
